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                                Index No. 16-CV-0465                ryMS)

                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF NEW YORK

                                DELANO CONNOLLY,

                                                                              Plaintiff,

                                                             -against-

                                THE CITY OF NEW YORK, JOSEPH CARDIERI,
                                PAUL SAVARESE, IAN SANGENITO, ALAN SPUTZ,
                                SUSAN STARKER, ANd FREDDA MONN,

                                                                            Defendants


                                    MEMORANDUM OF LAW IN SUPPORT OF
                                    DEFENDANTS' MOTION FOR SUMMARY
                                               JUDGMENT


                                               ZACHARY W: CARTER
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                                           New York, IW 10007

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                                           Matter No. 2016-003343


                                           Date of Service: December 10, 2018


   Eric T. Murrell,
    Of Counsel.
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   UNITED STATES DISTRICT COUR1
   EASTERN DISTRICT OF NEW YORK


   DELANO CONNOLLY,

                                                             Plaintiff,

                             -against-
                                                                              16 Civ. 0465   (wFK) (VMS)
   THE CITY OF NEW YORK, JOSEPH CARDIERI, PAUL
   SAVARESE, IAN SANGENITO, ALAN SPUTZ, SUSAN
   STARKER, and FREDDA MONN,

                                                          Defendants.
                                                                  ------ x

                           MEMORANDUM OF LAW IN SUPPORT OF
                           DEFENDANTSO MOTION FOR SUMMARY
                                      JUDGMENT

                                   PRELIMINARY STATEMENT

                   Plaintiff, currently an attorney employed by the New York City Administration

   for Children's Services ("ACS"), alleges that the Defendants discriminated against him on the

   basis   ofhis race and gender, and subsequently retaliated             against him for opposing the alleged

   discrimination in violation of Title   vII   of the   civil   Rights Act of 1964 (*Tltle   vII") -   42 U.S.C.

   g 2000e-2; 42 U.S.C. $ 1983    ("$ 1983"), and the New York City Human Rights Law ("CHRL"),

   N.Y.C. Admin. Code $ 8-107.

                   The Defendants now move for Summary Judgment dismissing the complaint on

   the grounds that: (1) there is no individual liability under Title         VII; (2) plaintiff cannot establish

   discrimination and retaliation in violation of federal law and local law; and (3) the Defendants

   have articulated legitimate, non-discriminatory, and non-retaliatory reasons for any alleged

   adverse emplo5rment actions that cannot be shown to be pretextual as a matter of law.
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                                      STATEMENT OF FACTS

                  The Court is respectfully referred to Defendants' Local Rule 56.1 Statement of

   Undisputed Material Facts, dated December 10,20T8 ("Defs' 56.1") for a statement of pertinent

   and material facts.l

                                             ARGUMENT

                                                POINT    I
                           NO INDIVIDUAL LIABILITY UNDER TITLE
                           VII
        A. Individualliability
                  Because there is no individual liability under Title   VII, all claims   as against the

   individual Defendants pursuant to that statute must be dismissed. See Cayemittes v. Citlz of N.Y.

   Dep't of Hous. Pres. & Dev., 641 Fed. Appx. 60,61-62 (2d Cir.2016) (Title VII).

                                               POINT    II
                           NO TRIABLE ISSUES OF MATERIAL FACT
                           EXIST THAT WOULD PRECLUDE
                           SUMMARY JUD

   A.      Standard   0f   Review

                  1. Discrimination
                  Plaintiff s Title VII, $ 1983, and CHRL claims are analyzed under the three-step

   burden-shifting framework established     in McDonnell-Douglas Com. v. Green, 41I U.S.            792

   (1973). To establish a prima facie case of discrimination, plaintiff must show the following:       1)


   that he was within a protected class; 2) that he was qualified for the position; 3) that he suffered

   an adverse employment decision and 4) that the adverse employment decision occurred under


   I Unless otherwise stated, all exhibit references are to those annexed to the Declaration of
   Assistant Corporation Counsel Eric Murrell in Support of Defendants' Motion for Summary
   Judgment executed on December 10, 2018 ("Murrell Decl.").


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   circumstances giving rise to an inference of discrimination based on a protected characteristic.

   See   McDonnell Douglas Com. v. Green, 411 U.S. 792,802 (l9n).2

                   Plaintiff bears the initial minimal burden          of   setting out   a   prima facie

   discrimination case, and is then aided by a presumption of discrimination unless the defendant

   proffers a legitimate, non-discriminatory reason for the adverse employment action, in which

   event, the presumption evaporates and the plaintiff must prove that the employer's proffered

   reason was a pretext for discrimination. Teasdale v. New York City Fire Dep't,574Fed. Appx.

   50, 51 (2d Cir. 2014). The "ultimate burden is on the plaintiff to establish that the Defendants'

   reasons are   in fact pretext for unlawful discrimination." Hofrnann v. Schiavone Contracting

   Co.p., 630 F. App'x 36, 39 (2d Cir. 2015). Conclusory allegations of discrimination                are


   insufficient to show that a Defendants' non-discriminatory reasons are pretext and to avoid

   summary judgment. Trane v. Northrop Grumman Corp., 94 F. Supp. 3d 367,375 (E.D.N.Y.

   2015), aff d, 639 F.   App'*   50 (2d Cir.2016), cert. den., 137 S. Ct. 619 (2017).

                   2.   Failure to Promote

                   Title VII, $ 1983, and CHRL failure-to-promote claims are also governed by the

   burden-shifting framework set forth in McDonnell Douglas. To carry his prima facie burden at

   the summary judgment stage, plaintiff has to adduce evidence that           (l) he is a member of a
   protected class, (2) he applied and was qualified for a job for which the employer was seeking

   applicants, (3) he was rejected for the position, and (4) the circumstances give rise            to an

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     Duckett v. Foxx , 672 F. App'x 45, 46-47 (2d Cir. 2016) (Title VII); Favorito v. Longwood
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   denied by. Without prejudice, 2015 U.S. Dist. LEXIS 176645 (E.D.N.Y., Sept. 16, 2015); Ruiz
   v. Cty. of Rockland, 609 F.3d 486, 491 (2d Cir.2010) ($ 1983 race); Parsons v. J.P. Morsan
   Chase Bank. N.A., No. 16-CV-0408 (l\GG) (JO), 2018 U.S. Dist. LEXIS 173056, at *15-16
   (E.D.N.Y. Sep. 30,2018) (CHRL).


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   inference of discrimination based on membership in the protected class. Moy v. Perez,7l2F.

   App'x 38, 4l (2d Cir.2017) (Title VII) (collecting cases); Yu v. N.Y.     State   Unified Court   Sys.


   Office of Court Admin. ,2013 U.S. Dist. LEXIS 97546, at *14-16 and 2l-23 (S.D.N.Y. Iuly 12,

   2013)   (g   1933); Pouncy   v. Advanced Focus LLC, No. 15-CV-6260 (JMF), 2017 U.S. Dist.

   LEXIS 156414, at*12 n.1 (S.D.N.Y.      Sep. 25,2017), recons. den.,2018 U.S. Dist.    LEXIS 63755

   (S.D.N.Y. Apr. 16, 2018) (CHRL).       A failure to promote is also considered a discrete act of

   retaliation. Bamba v. Fenton, No. 17-2870, 2018 U.S. App. LEXIS 34048, at *5 (2d Cir. Dec. 4,

   2018) citing Nat'l R.R. Passenser Com. v. Morgan, 536 U.S. 101, 113-14,122 S. Ct.2061,153

   L. Ed. 2d    106 (2002) (explaining that "termination, failure to promote, denial     of transfer, or

   refusal to hire" are discrete retaliatory acts insufficient to invoke the continuing violation

   doctrine).

                    3.   Retaliation

                    To make out a prima facie case of retaliation under Title VII, $ 1983, and CHRL,

   plaintiff must show that: (1) he engaged in a protected activity; (2) Defendants were aware of

   this activity; (3) the Defendants took adverse employment action against him; and (4) a causal

   connection exists between the alleged adverse action and the protected activity. Once a prima

   facie case of retaliation is established, the burden of production shifts to the Defendants to

   demonstrate that a legitimate, non-retaliatory reason existed for their action(s). If the Defendants

   demonstrate such a reason, the burden shifts back to the plaintiff to adduce evidence from which

   a rational finder of fact could infer that the desire to retaliate was the but-for cause of the

   challenged employment action. Russell v. Aid to Developmentally Disabled. Inc., No. 17-3417,

   2018 U.S. App. LEXIS 29293, at *6-7 (2d Cir. Oct. 18, 2018); see Ya-Chen Chen v. City Univ.

   of N.Y., 805 F.3d 59,70 (2dCir.20l5) quoting Univ. of Tex. Sw. Med. Ctr. v. Nassar, 570 U.S.



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   338,352 (2013).3 Unfike retaliation claims made under Title VII and $ 1983, under the CHRL,

   summary judgment is appropriate      if   the record establishes as a matter of law that retaliation

   played no role in the Defendants' actions. Ya-Chen Chen, 805 F.3d at76.

                   4.   Individual Liability Under $ 1983

                   'oln order to establish individual liability under $ 1983, a plaintiff must show (a)

   that the Defendant is a person acting under the color of state law, and (b) that the Defendant

   caused the   plaintiff to be deprived of a federal right." Back v. Hastings on Hudson Union Free

   Sch. Dist., 365 F.3d 107, 122 (2d Cir. 2004).     "Liability for   an Equal Protection Clause violation

   under $ 1983 requires personal involvement by a defendant, who must act with discriminatory

   purpose." Reynolds v. Barrett, 685 F.3d lg3, 204 (2d Cir. 2012). A Defendant's personal

   involvement can be established by showing that:

                           (l) The Defendant participated directly in            the
                               alleged constitutional violation,           (2)   the
                               Defendant, after being informed of the violation
                               through a report or appeal, failed to remedy the
                               wrong, (3) the Defendant created a policy or
                               custom under which unconstitutional practices
                               occurred, or allowed the continuance of such a
                               policy or custom, (4) the Defendant was grossly
                               negligent     insupervising subordinates who
                               committed     the wrongful acts, or (5) the
                               Defendant exhibited deliberate indifference. . .by
                               failing to act on information indicating that
                               unconstitutional acts were occurring. Littleiohn
                               v. Cit], of New York, 795 F.3d 297, 314 (2d Cir.
                               20ts).




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    Johnsonv. Schmid, No. 17-3196-cv,2018 U.S. App. LEXIS 25391, at *5-6 (2dCit. Sep.7,
   2018) ($ 1e83).


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   B.       Application

                1. No Prima Facie Case Of Discrimination
                        a. No Adverse Employment            Action

                    "An adverse emploSrment action is a 'materially adverse change in the terms                  and

   conditions of employment, which can include termination of employment, a demotion evidenced

   by a decrease in wage or salary, a less distinguished title, a material loss of benefits, [or]

   significantly diminished material responsibilities,' among other possibilities." Campbell v. N.Y.

   CitlzTransitAuth., 93 F. Supp.3d 148, 168-69 (E.D.N.Y. 2015), affd, 662F. App'x 57 (2dCir.

   2016), cert. den., 137 S. Ct. 1595 (2017). Such action must be "more disruptive than a mere

   inconvenience     or an alteration of job responsibilities."         Id.        Disciplinary memoranda and

   evaluations are adverse employment actions only           if they affect    ultimate employment decisions

   such as promotion, wages, or termination.       Id. In his performance          evaluation signed on April 21,

   2014 for the period: October     l,   2012 to September 30, 2013, plaintiff received an overall rating

   of "Good," and disagreed with the rating.         See   Defs' 56.1   atll4l.        However, oocriticism of an

   employee     in the course of     correcting [his] work      is not an adverse            employment action."

   Sotomayorv. Cityof N.Y.,862F. Supp. 2d226,254 (E.D.N.Y.2012), affd,713 F.3d 163 (2d

   Cir.20t3).

                    Regarding the OEEO investigation           of plaintiff        (see   Defs' 56.1 at flfl   13-a0;

   Exhibit Q    at Bates Stamp Nos. 2012EEOC4        - 20I2EEOC5        at fl'!|   B-H), the mere investigation is

   in itself, not an adverse employment action. Weber v. City of New York , 973 F. Supp. 2d 227 ,

   252 (E.D.N.Y. 2013) (collecting cases). Moreover, the fact that following the OEEO

   investigation, the complaint filed against plaintiff was "unsubstantiated" militates against the

   alleged adverse nature of the OEEO investigation.           Id. "A transfer is an adverse employment
   action   if it results in a change in responsibilities   so significant as to constitute a setback in the

                                                        6
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   plaintiffs career." Lawson v. City of New York, 2013 U.S. Dist. LEXIS 166666, *24-25

   (E.D.N.Y. Nov.21,2013), affd,595 Fed. Appx. 89 (2d Cir.2015). Evenunderthe CHRL,                        a


   change   in plaintiffs   schedule because   of his transfer is not an adverse employment         action.

   Furfero v. St. John's Univ., 94 A.D.3d 695, 698, 941 N.Y.S.2d 639, 642-43 (2d Dep't 2012).

   Regarding plaintiff s Charges and Specifications (see    Defs'   56.1   at 42-85),an employee   does not

   suffer a materially adverse change     in the terms and conditions of          employment where the

   employer merely enforces its preexisting disciplinary policies in a reasonable manner. Joseph v.

   Leavitt, 465 F.3d 87, 9I (2d Cir. 2006).

                   Plaintifls involuntary transfer during the pendency of the OEEO investigation

   (see   Defs' 56.1 at flfl 19-20, 23-27, and 40) is not adverse either because his title and pay

   remained the same. Staten v. City of N.Y., No. 16-CY-5317,2017 U.S. Dist. LEXIS 106083, at

   *21-23 (S.D.N.Y. July 10, zll|)(collecting cases), aff d, 726     F   .App'x   40, 42-43 (2d Cir.20l8).

   Moreover, subjective dissatisfaction with assignments does not constitute adverse employment

   action. Valenti v. Massapequa Union Free Sch. Dist., No. 09-CY-977 (JFB) (ARL), 2012 U.S.

   Dist. LEXIS 43279, at *43 (E.D.N.Y. Mar. 28,2012) (collecting cases); see Whethers v. Nassau

   Health Care Corp., 956 F. Supp. 2d 364, 376 (E.D.N.Y. 2013) (that plaintiff, upon being

   transferred, was physically separated from her supervisor, often had             to report to   different

   supervisors, and o'sometimes had to perform duties she considered outside of the scope of her

   responsibilities," did not amount to an adverse employment action), af?d,578 F. App'* 34 (2d

   Cir.2014).

                   Plaintiffs duties while working for the Legal Compliance Unit following his

   transfer during the pendency of the OEEO investigation were consistent with those of an ACS

   Agency Attorney (see Defs' 56.1      atffi7,26),      and do not constitute an adverse employment



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   action. Staten, No. 16-CV-5317,2017 U.S. Dist. LEXIS 106083, at*22 ("Although allegedly

   unpleasant and inconvenient, the plaintiff s assignments to work the barrier section, transport a

   prisoner, and guard the precinct cells were not adverse employment actions because they were

   standard officer assignments and were unaccompanied by any 'materially adverse change' in the

   plaintifPs employment such as a demotion, loss of responsibility, change in salary, reduction in

   benefits, or missed opportunity for career advancement").

                     In his 2012 EEOC Charge, plaintiff documents instances where ACS employees

   made derogatory statements about him (e.g. "sleazy," 'he's part              of the Christian Coalition,"
   o'womanizer," "psycho," "mental issues," and ooasshole"). See Exhibit
                                                                         Q at Bates Stamp Nos.

   20L2EEOC5     -   20I2EEOC6 atfl!] H-I; 20l2EEOCl0      - 20L2EEOC10          at !1fl   B-C. However, those

   statements are not adverse. Day         v. City of N.Y., 2015 U.S. Dist. LEXIS 161206, at *22-26

   (S.D.N.Y. Nov. 30, 201,5) (collecting cases), Adopted bv. Dismissed by. in part, 2016 U.S. Dist.

   LEXIS 37153 (S.D.N.Y. Mar.22,2016) ("...allegations that defendants were hostile towards

   plaintiff, utilizing words like dumb, delusional, you kept your job, oversensitive, and gathering

   information; gave [a non-party] special seating and scheduling privileges...none of these actions

   constitutes an adverse employment action under Title         VII   because   plaintiff has not alleged that

   they created a materially adverse change            in the terms       and conditions        of   [plaintiffs]

   employment").

                          b.   No Inference of Discrimination

                     An   inference   of   discrimination can be derived from the circumstances of

   plaintifPs employrnent including, but not limited to, the employer's criticism of the plaintiff               s


   performance   in    ethnicallya degrading terms; invidious comments made about others                  in   the


   a Title VII's prohibition on race discrimination encompasses discrimination on the basis of
   ethnicity. See Vill. of Freeport v. Barrella, 814 F.3d 594,607 (2d Cir.2016).

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   employee's protected group; the more favorable treatment                 of employees not in the protected

   group; or the sequence of events leading to the alleged adverse employment action. Tu Yine

   Chen v. Suffolk Ctv. Cmty. Coll., No. 14 CV 1597                  (JMA)(S[),2017 U.S. Dist. LEXIS 51965,

   at*14-15 (E.D.N.Y. Mar.3I,2017), affd,734F. App'x 773 (2d Cir.20l8) citingAbdu-Brisson

   v. Delta Air Lines"   Inc.   , 239 F.3d 456, 468 (2d Cir. 2001), cert. den., 534 U.S. 993, 122 S. Ct.

   460 (2001).

                 In his 2012 EEOC Charge, plaintiff documents instanceS where ACS employees

   made derogatory statements about him (e.g. "sleazy," "he's part                   of the Christian Coalition,"

   "womanizer," 'opsycho," "mental issues," and "asshole"). See Exhibit Q at Bates Stamp Nos.

   20L2EEOC5     -    20I2EEOC6 at J[fl H-J and 20L2EEOC10                  -   20I2EEOC10 at'lTfl       B-C.      Such

   statements are cannot be used to defeat summary judgment. Kerman-Mastour v. Fin. Indus.

   Rezulatory Auth." Inc., 814 F.Supp.2d 355, 369 (S.D.N.Y. Sep. 30,                        20lI)   ("statements   of   a


   coworker relating allegedly discriminatory remarks made by a supervisor do not fall within [a]

   hearsay exception of fthe Federal Rules of Evidence and as such, the Court                    will not consider it
                                                           oostray
   on summary judgment"). Even          if   admissible,             remarks, even   if   made by a decision-maker,

   do not constitute sufficient evidence to make out a case of employment discrimination." Kizer v.

   Abercrombie & Fitch Co., No. 12-CV-5387(JS)(AKT), 2018 U.S. Dist. LEXIS 198718, at*14-

   15 (E.D.N.Y. Nov. 20,2018) (collecting cases).

                     To raise an inference of discrimination plaintiff "must do more than merely

   proffer his own belief that he was discriminated against." See Casciani v. Nesbitt, 659 F. Supp.

   2d 427, 463-64 (W.D.N.Y. 2009) (finding that the plaintiffls "subjective beliefs and naked

   allegations, unsupported by any facts, of a generalized animus on the part                 of'the   defendants was

   insufficient to sustain a claim of discrimination), affld, 392Fed. Appx. 887 (2d Cir.2010), cert.



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   den., 563 U.S. 936, 131 S. Ct.2096 (2011).      "A plaintiffs feelings and perceptions of being

   discriminated against are not evidence of discrimination." Basso v. Earthlink. Inc., 157 A.D.3d

   428,430,69 N.Y.S.3d 8, 10 (1't Dep't 201S) (CHRL).

                                 i.   Plaintiffs Alleged Comparators

                  When considering whether plaintiff has raised an inference of discrimination by

   showing that he was subjected to disparate treatment, the Second Circuit has held that the

   plaintiff must show she was similarly-situated in all material respects to the individuals with

   whom he seeks to compare himself. Graham v. Long Island R.R., 230 F.3d 34,39 (2d Cir.2000)

   (Title VII); Varughese v. Mount Sinai Med. Ctr., 2015 U.S. Dist. LEXIS 43758, at *128-29

   (S.D.N.Y. Mar. 27, 2015), afPd, 693 F. App'x      4l (2d Cir. 2017) (CHRL).          The standard for

   comparing conduct requires a reasonably close resemblance of the facts and circumstances           of

   plaintifPs and comparator's situations. Graham,230 F.3d at40.

                   To the extent plaintiff seeks to compare himself with the twenty-eight (28) other

   FCLS attorneys investigated by ELU from 2011-2017 (see Exhibit W); he cannot show he was

   similarly-situated in all material aspects to those individuals. See Defs' 56.1 atflT S7-137. More

   specifically, courts in the Second Circuit have routinely recognized that a materially dissimilar

   disciplinary history may disqualify a peer employee from being deemed similarly-situated to         a


   plaintiff. Toussaint v. NY Dialysis Servs. ,230 F. Supp. 3d 198, 215 (S.D.N   .Y .   2017)' af?d,706

   F.   App'x 44,45 (2d Cir.2017). Eleven of the FCLS attorneys investigated by ELU from 2011-

   2017 have materially dissimilar disciplinary histories as compared to   plaintiff.    Compare Defs'

   56.1 at 1fr42-86 with Defs' 56.1 atfl!]89-90, 94-95,101-108, and    ll2-134. Additionally, two of

   the FCLS attomeys were probationary, and unable to be served with Charges and Specifications,

   unlike plaintiff. See Defs' 56.1 atflfl 91-93 and 98-100. Ken Robinson who plaintiff alleges is     a




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   white male Level 3 Attorney kissed Stacy Schecter on her forehead, but was not referred to

   OEEO, unlike plaintiff is not similarly-situated to plaintiff. Compare Exhibit Q at Bates Stamp

   No. 2012EEOC3 at fl A with Defs' 56.1 atflfl 13-40.

                   Plaintiff also alleges White female attorneys engaged in consensual relationships

   with co-workers in the Brooklyn FCLS office and were not investigated by the OEEO.                        See


   Exhibit Q   at Bates Stamp Nos. 20l2EEOC6         -   20I2EEOC7. However, they are not comparators

   because merely having a consensual relationship        with   a co-worker at   Brooklyn FCLS was not the

   only reason plaintiff was investigated by OEEO. See Defs' 56.I at !fti; see also Toussaint, 230 F.

   Supp.3dat2l5.

                    Generally, evidence that employers treated a plaintiff less favorably than other

   employees in the plaintiff s own protected classes undermines any inference of discrimination on

   the basis of the shared characteristics. Alexidor v. Donahoe, No. 11 CV 9113 (KMK), 2016 U.S.

   Dist. LEXIS 136026, at *26 (S.D.N.Y. Sep. 30, 2016) (collecting cases), Summary judement

   eranted by, 2017 U.S. Dist. LEXIS 30410 (S.D.N.Y., Mar. 2, 2017). Assuming plaintiff was

   treated less favorably than a FCLS attorney referred to ELU for criminal misconduct following a

   DWI arrest, and one referred for         'orude inappropriate behavior," the fact that both        of    those

   attorneys were male undermines any inference of gender discrimination. See Defs' 56.1 at J[fl

   101-104 and 109-111.

                    Discrimination cannot be inferred from the OEEO investigation into plaintiff (see

   Defs' 56.1 at fl'|l| 13'40)   because a similarly-situated employee outside      plaintiff s protected   class

   (gender) was not treated more favorably. Holmes v. Astor Servs. for Children & Families, No.

   l6-CY-2260 (CS), 2017 U.S. Dist. LEXIS 130799, at *15 (S.D.N.Y. Aug. 16, 2017) (collecting

   cases) ("Defendants did not treat similarly-situated employees outside             of PlaintifPs protected



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   class any more favorably...Plaintiff has not established a prima facie case of discrimination").

   Defendant Ian Sangenito ("Sangenito"), who plaintiff alleges to be Caucasian (see Dkt. No.             I at

   fl 39) was also the subject of an OEEO investigation into          sexual relationships with ACS staff

   members. See Defs' 56.1 at flfl 133-140. Like the OEEO complaint against plaintiff, the

   complaint against Sangenito was deemed "unsubstantiated." See Defs' 56.1 at              fl 140. To the
   extent this Court finds Ken Robinson to be similarly-situated, plaintifPs argumentthat he was

   treated less favorably than Ken Robinson (see Exhibit             Q at Bates Stamp No.    2012EEOC3)

   undermines plaintifPs gender discrimination        claim. Alexidor v. Donahoe, No. 11 CV 9113

   (KMK),2016 U.S. Dist. LEXIS 136026, at*26 (S.D.N.Y. Sep. 30, 2016) (collecting                   cases),


   Summaryjudgment grantedbv,20lT U.S. Dist. LEXIS 30410 (S.D.N.Y., Mar.2,2017).

                   Even   if plaintiff could establish that he was subject to other   adverse action giving

   rise to an inference of discriminatory intent, plaintiff has not identified any similarly-situated

   individuals not sharing his purported characteristics who were given preferential treatment. See

   Point   II   (B)(lXbXi),   infra.     Therefore, plaintifPs   $   1983 claims should be dismissed.

   Acheampong v. N.       Y. City Health & Hosps. Com., No. I \CVI205-LTS-SN, 2015 U.S. Dist.

   LEXIS 37933, at*47 (S.D.N.Y. Mar.25,2015).

                                   ii.   Plaintiffs Failure to Promote Claim

                    ACS employees (including the individual Defendants) shall not discriminate

   against any person in hiring or promotion because of race or gender. See Defs' 56.1 at             I   12.

   Plaintiffs subjective   assessment     of his own qualifications is insufficient to create a genuine

   factual issue as to whether the Defendants' proffered reasons for its hiring decision are pretext

   for discrimination. Concepcion v. Citlz of N.Y., 2016 U.S. Dist. LEXIS 11352, at *37'38

   (S.D.N.Y. lan.29,2016) (collecting cases), affd, 693 F. App'x           3l (2d Cir.2017). A material


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   factual issue can be created only where the plaintiffs credentials are so superior to the

   credentials   of the person selected for the job that no reasonable   person,   in the   exercise   of

   impartial judgment, could have chosen the candidate selected over the plaintiff for the job in

   question. Id.

                    There is no evidence suggesting plaintiff was not promoted/transferred under

   circumstances giving rise to an inference of discrimination based upon race andlor gender. See

   Defs' 56.1 atl|tTl4l-181;   see also   Ani v. IMI Sys., No. 98 Civ. 8430 (DABXMHD), 2002 U.S.

   Dist. LEXIS 15196, 2002 WL 1888873, at *11 (S.D.N.Y. Aug. 15, 2002) ("court reviews

   resumes of    plaintiff and co-workers to determine whether plaintiff s proposed comparators were

   similarly-situated"). Plaintiff s personal opinion of the purported lesser qualifications of those

   who were promoted is of no weight. Lee v. HealthFirst. Inc.,2007 U.S. Dist. LEXIS 14891, at

   *37 (S.D.N.Y. Mar. 1,2007); see Fletcherv. ABM Bldg. Value,2018 U.S. Dist. LEXIS 54762,

   at *22 (S.D.N.Y. Mar. 28, 2018) ("And with respect to the Administrator role, plaintiff has not

   demonstrated that she possessed greater, let alone comparable, credentials to the candidate who

   was selected"). In addition, the mere factthat plaintiff may have had more experience than those

   who were promoted does not support an inference of discrimination. Patel v. City of N.Y., 699

   F. App'x 67, 69 (2d Cir. 2017) ("...greater experience cannot alone establish that a candidate's

   qualifications are so superior to another's that the employer's hiring decision may be found to

   have been discriminatory").

                    Furthermore, one of the individuals promoted to the Agency Attorney Level 4

   position was a male. See Defs' 56.1, atfl 160. That undermines any inference of discrimination.

   Fletcher v. ABM Blde. Value, 2018 U.S. Dist. LEXIS 54762, at
                                                                *28 (S.D.N.Y. Mar. 28, 2018)

   ("The individuals who were promoted, Thompson, a white woman, to District Manager, and



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   Avendano, a Hispanic woman, to Administrator, share plaintifPs sex and gender, meaning that

   plaintiff is unable to demonsftate that she is similarly situated to someone outside of             these


   classes who was promoted").

                      c.   Defendants' Non-Discriminatory Reasons

                  Assuming plaintiff sets out a prima facie case of discrimination under Title VII,         $


   1983, and CHRL, Defendants have legitimate, non-discriminatory reasons for their actions.

   Employee insubordination and other conduct that is disruptive to the workplace are legitimate,

   non-discriminatory reasons for adverse employment actions. Dawson v. Valley, No. 11-CV-

   8030 (VB),2015 U.S. Dist. LEXIS 65807, at *8-9 (S.D.N.Y. Apr. 14,2015) (collecting cases).
                                oroving commission to review business judgments                       not 'sit
   Federal courts do not have a                                                        ,'   and may


   as super-personnel departments, assessing the       merit-or   even the   rationality-of     employers'

   non-discriminatory business decisions."' Greene v. Brentwood Union Free Sch. Dist.,966 F.

   Supp. 2dl3I,156 (E.D.N.Y. 2013),affd,576 Fed. App'x 39 (2dCir.2014).

                  Plaintiff was investigated by OEEO and disciplined for unrelated conduct for

   reasons that had nothing to do   with his race andlor gender.   See   Defs' 56.1 at 1]1.[ 13-86. To the

   extent plaintiff challenges the veracity of the claims which led to the OEEO investigation and the

   Charges and Specifications, "in a discrimination case . . . the Court is decidedly not interested in

   the truth of the allegations against   plaintiff." McPherson v. N.Y. City Dep't of Educ. ,     457 F.3d


   2ll,216 (2d Cir. 2006). The Court is 'interested in what 'motivated the employer . . .;' the
   factual validity of the underlying imputation against the employee is not at issue." Id.

                   Regarding plaintiffs failure to promote claim, the lesser impression he made at

   his interviews in comparison to those hired for the positions is a legitimate, non-discriminatory

   reason for the failure to promote. Moy v. Perez, No. 15cv3 2, 2016 U.S. Dist. LEXIS 129140, at




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   *9 (S.D.N.Y. Sep. 21, 2016), affld, 712 F. App'x 38 (2d Cir. 2017); Tucker v. New York City,

   376F. App'x 100, 102 (2d Cir. 2010) ("There is nothing unlawful about an employer basing its

   hiring decision on subjective criteria, such as the impression an individual makes during         an


   interview"). The negative impression plaintiff made during his interviews was the legitimate,

   non-discriminatory reason why he was not promoted. See Defs' 56.1 at|ilfl 141-181.

                       d.   Lack of Pretext

                  Conclusory allegations of discrimination are insufficient to show that Defendants'

   non-discriminatory reasons are pretext and to avoid summary judgment. Trane v. Northrop

   Grumman     Com.,94F. Supp. 3d367,375 (E.D.N.Y.2015), affd,639 F. App'x 50 (2d Cir.

   2016), cert. den., 137 S. Ct.617 (2017). Absent specific evidence of an improper motive, this

   Court should not second-guess the Defendants' business decisions. Lue v. JPMorean Chase &

   Co., No. 16-CV-3207 (AJN),2018 U.S. Dist. LEXIS 50749, at*23 (S.D.N.Y. Mar.27,2018)

   citing Scaria v. Rubin, 117 F.3d 652,654-55 (2d Cir.1997). Plaintiff must produce "not simply

   some evidence, but suffrcient evidence to support a rational finding that the legitimate, non-

   discriminatory reasons proffered by the employer were false, and that more likely than not

   discriminationwastherea1reaSonforthedischarge.'',
   713 F.   App'x 53, 54-55 (2d Cir. 2017) citine Van Zant v. KLM Royal Dutch Airlines, 80 F.3d

   708,714 (2dCir.1996).

                   A   reason cannot be proved to be a pretext for discrimination unless   it is shown

   both that the reason was false, and that discrimination was the real reason. St. Marv's Honor Ctr.

   v. Hicks, 509 U.S. 502, 515 (1993) (Title     VII).   Even under the CHRL, "the mere fact that

   plaintiff may disagree with her employer's actions or think that his behavior   was   justified does

   not raise an inference of pretext." Melman v. Montefiore Med. Ctr., 98 A.D.3      d    107, 126   (ft


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   Dep't 2012). "sharpened and focused" facts showing the real motivation for plaintiff s treatment

   was race or gender, and not his violations of ACS policy are required to establish pretext. Brown

   v. City of N.Y. ,2011U.S. Dist. LEXIS 137880, at *33-34 (S.D.N.Y. Nov. 29, 20ll), aff d, 512

   F. App'x 29 (2d Cir. 2013).

                   Regarding plaintiff s failure to promote claim, to prevent summary judgment on

   the strength of a discrepancy in qualifications ignored, that discrepancy must bear the entire

   burden of allowing a reasonable trier of fact to not only conclude the Defendants' explanation

   was pretextual, but that the pretext served to mask unlawful discrimination. In effect, the

   plaintiff s credentials would have to be so superior to the credentials of the person selected for

   the job that no reasonable person, in the exercise of impartial judgment, could have chosen the

   candidate selected over the plaintiff for the job in question. Moy, 712    F   .   App'x at 4I-42. "Title

   VII is not an invitation for     courts   to sit as a    super-personnel department that reexamines

   employers' iudprnents." Ya-Chen Chen, 805 F.3d at73.

                   For the same reasons that Plaintiff herein is unable to establish an inference of

   discriminatory intent (see Point   II (B)(l)(b),   supra), he is also unable to carry her burden that

   Defendants' reasons were pretextual. Lue v. JPMorsan Chase           & Co., No. 16-CV-3207 (AJN),

   2018 U.S. Dist. LEXIS 50749, at*23-24 (S.D.N.Y. Mar.27,2018) (collecting cases).

              2,   No Prima Facie Case Of Retaliation

                       a.   ProtectedActivities

                   PlaintifPs alleged protected activities are as follows:

                            (1)      On July 5,2012, Plaintiff filed Charge No.
                            520-2012-02571 with the United States Equal
                            Employrnent Opportunity Commission ("EEOC")
                            and the New York State Division of Human Rights
                            ("SDHR") alleging he was discriminated and
                            retaliated against by ACS in violation of Title VII


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                           and the Age Discrimination in Employment Act of
                           1967 (*ADEA). See Defs' 56.1 at fl 35; Exhibit Q
                           at Bates Stamp No. 2012EEOC2.'

                           (2) On September          16, 2014, Plaintiff filed
                           EEOC Charge No. 532-2014-01527 alleging he was
                           discriminated and retaliated against by ACS in
                           violation of Title VII and the ADEA. See Dkt No.
                           31-2.

                      b.   No Adverse Employment Action

                  "Employee investigations, unwanted scrutiny from supervisors, and negative

   performance evaluations without attendant negative results                    or     deprivation of

   position/opportunity, do not sufficiently constitute adverse employment actions." Wright v.

   Monroe Cmty. Hosp. ,2011 U.S. Dist. LEXIS 82809, at *7 (W.D.N.Y. July 28, 20IT),           afP   d, 493

   F. App'x 233 (2d Cir. 2012). The OEEO investigation into plaintiff that was ultimately

   unsubstantiated predates his protected activities. See     Defs' 56.1 at flfl 13-40. To the extent

   plaintiff alleges the length of the OEEO investigation which ended a little over three months

   following plaintiff s filing of the 2012 EEOC Charge (see id.) is retaliatory, it is not sufficiently

   adverse.    See Cox     v. Onondaga Cty. Sheriff s Dep't, 760 F.3d 139, 146-47 (2d Cir. 20t4)

   (ooMoreover, we cannot blind ourselves      to the fact that an employer's failure to conduct       an


   investigation when faced even with an internal complaint...might be viewed as evidence of an

   indifference to...discrimination,   if not acquiescence in it.   Indeed, we can say with confidence

   that the law must give breathing room for such investigations to be carried out").

   5
    The Charge contains some allegations that are completely time-barred. See Exhibit Q at Bates
   Stamp Nos. 20l2EEOC6 - z}lzEEOCi atfllT I, L; 20L2EEOC10 at fl A; Dkt. No. 57 at 10-13.

   In addition plaintiffs EEOC Charge makes references to pattern and practice discrimination.
   See Exhibit G at Bates Stamp Nos. 2012EEOC7 - 20I2EEOC9 at fl'l] M-P. To the extent that is
   being alleged herein, courts have found that 'oseveral isolated incidents, without more, are
   insufficient to allege a pattern or practice." Erazier v. Stanley,2018 U.S. Dist. LEXIS 205362, at
   *33-34 (S.D.N.Y. Nov. 29,2018) (collecting cases).


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                     Fact-finding investigations engaged in with good reason that could but do not

   necessarily lead to disciplinary action like the OEEO investigation into plaintiff (see Defs' 56.1

   at !fJ[ 13-40) constitutes trivial harms or "petty and minor annoyances" that would not unduly

   dissuade a reasonable employee from seeking redress under Title              VII.    Tepperwien v. Entersy

   Nuclear Operations. Inc., 663 F.3d 556, 568-70 (2d        Cir.20ll). In addition,               the perfonnance

                                                                                    ooGood"
   evaluation signed on April 21,2014 where plaintiff received an overall rating of         is not

   adverse simply because plaintiff disagrees with   it.   See   Defs'   56.1 at fl   41. There is no allegation

   that negative results or a deprivation of opportunity/position followed the evaluation. Wright v.

   Monroe Cmty. Hosp. ,2011U.S. Dist. LEXIS 82809, at *7 (W.D.N.Y. July 28,                        20ll),   af?   d, 493

   F. App'x 233 (2dCir.2012); see Dkt. No.l.

                     In his second EEOC Charge, plaintiff alleges he was                      "subject      to    further

   harassment" after filing his first EEOC Charge, but offers no specifics. See Dkt. No. 3l-2 at 2.

   Even   if   true, harassing comments, malicious gossip, and leaking of sensitive information do not

   constitute a materially adverse employment action. Such allegations do not establish a materially

   adverse employrnent action because they do not reasonably dissuade an employee from asserting

   a discrimination charge. Van Dyke v. Partners of Debevoise             & Plimpton         LLP   ,2013 U.S' Dist.

   LEXIS 136786, at *8-9 (S.D.N.Y. Sep. 24, 2013). Even under the CHRL, "being yelled                                 at,


   subjected     to the occasional offensive remark and          subjected    to   excessive scrutiny do not

   constitute actions reasonably likely to deter a person from engaging in protected activity." Chin

   v. New York Citv Hous. Auth., 160 A.D.3d 443, 444 (I't Dep't 2013),lv. den., 22 N.Y.3d                            861


   (2014).

                     Plaintiffs transfer during the pendency of the OEEO investigation                       predated


   plaintiff s protected activities. See Defs' 56.1 at nn          D-27.      Even      if   actionable, plaintifPs



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   dissatisfaction with his lateral transfer based on his "subjective view of [his] old position [at

   Brooklyn FCLSI, which he was content with, as compared to [the position with the Legal

   Compliance Unit] does not sufficiently constitute an adverse emplo;rrnent action. Cayemittes v.

   Citv of N.Y. Dep't of Hous. Pres. & Dev., 974 F. Supp. 2d 240, 259-260 (S.D.N.Y. 2013)

   (collecting cases), aff d, 641F. App'x 60 (2d Cir. 2016).

                   Moreover, plaintiff received "several" commendations for his work at the Legal

   Compliance    Unit.    See   Defs'   56.1   at fl27 . Therefore, any delay in reassigning plaintiff back to

   Brooklyn FCLS at the conclusion of the OEEO investigation is not adverse. Joseph                         v.

   Thompson, Civil Action No. 95-CV-4898 (DGT)(MDG), 2005 U.S. Dist. LEXIS 39419, at *25

   (E.D.N.Y. Mar. 22,2005) ("A delay in reassignment, followed by a mis-assignment is not an

   adverse employment action, provided that such a delay does not harm an employee's career"),

   afPd sub nom.   ,   465 F.3d 87 (2d     Cir. 2006), cert. den., 549 U.S. 1282, 127 S. Ct. 1855 (2007).

   Lastly, any argument that a delay in reassigning led to undesired work assignments would be

   unavailing because undesired office assignments are not adverse employment actions. Guity v.

   Uniondale Union Free Sch. Dist., No. CV 12-1482 (SJF) (AKT), 2014 U.S. Dist. LEXIS 45803,

   aI *62-63 (E.D.N.Y. Feb. 28, 2014) (collecting cases), Adopted by. Objection denied by.

   Summary judBrnent eranted by. Dismissed by,2014 U.S. Dist. LEXIS 43992 (E.D.N.Y., Mar.

   31,2014).

                   Plaintiff alleges that in retaliation for filing his first EEOC Charge, he was denied

   training.   See Dkt.   No. 3l-2 at 2. However, denial of training is only an adverse employment

   action if the Defendants denied necessary job training to plaintiff thereby harming the conditions

   of his employment. Carpenter v. City of Mount Vemon, No. 15-cv-0661 (NSR), 201$ U.S. Dist.

   LEXIS 176195, aI *16 (S.D.N.Y. Oct. 1 1,2018). There is no allegation of such a denial in this



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   case. See generally Dkt. No. 1. Plaintiff also alleges that she was denied assignments (see Dkt.

   No.   3   l-2 at2),bvt   offers no evidence that the alleged denial of assignments was adverse in that it

   was o'more disruptive than a mere inconvenience or an alteration of job responsibilities."

   Mitchell v. STINY Upstate Med. Univ. ,243 F. Supp. 3d 255,277 (N.D.N.Y. 2017), aff d, 723              F.


   App'x 62 (2d Cir. 2018). Lastly, plaintiff alleges he was excluded from work related functions.

   See   Dkt. No. 3 l-2 at 2. By itself, that exclusion is not an adverse employment action. Mabry v.

   Neighborhood Def. Serv.,769F. Supp. 2d381,399 (S.D.N.Y.20ll) (collecting cases) ("While

   plaintiff may be subjectively unhappy with his exclusion from management meetings, the failure

   to invite plaintiff to management meetings does not rise to the level of a material adverse action

   such that a reasonable employee in the plaintifPs position would be dissuaded from making or

   supporting a charge of discrimination. Moreover, the plaintiff has not alleged any facts to

   suggest that     plaintiffs exclusion from management meetings prohibits plaintiff from receiving

   critical training in his field necessary for his advancement").

                            c.   Lack of Causation

                      Plaintiff may establish the causal connection between protected expression and

   adverse employment action indirectly by showing that the protected activity was followed by

   adverse employment, or directly by evidence of animus. Kwan v. Andalex Grp." LLC. ,737 F.3d

   834, 845 (2d Cir. 2013) (Title VII); Melman, 98 A.D.3d at 129 (CHRL); Johnson, 2018 U.S.

   App. LEXIS 25391, at *10-11 (2dCir. Sep. 7, 2018) ($ 1983).

                      The United States Court of Appeals for the Second Circuit has cited with approval

   district court decisions finding that "[t]he passage of even two or three months is sufficient to

   negate any inference of causation when no other basis to infer retaliation is alleged." Brown v.

   City of New York , 622 Fed. Appx. Ig, 20 (2d Cir. 2015). The alleged protected activity must



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   predate evidence of the alleged retaliatory animus. Vecchione v. Dep't of Educ. ,2014 U.S. Dist.

   LEXIS 69708, at *12 (S.D.N.Y. May 16, 2014) citing Nakis v. Potter, 422 F. Supp. 2d 398, 422-

   23 (S.D.N.Y. 2006). Therefore, the OEEO investigation into plaintiff his transfer during its

   pendency, the alleged failure to promote plaintiff to Attorney Level IV (see Defs' 56.1 at'l]fl 13-

   40,    l4l-I49)   are not retaliatory because those actions predate his first EEOC Charge. See

   Exhibit    Q.     In addition, plaintiffls 60-day   suspension following Charges and Specifications

   predates plaintiff s second EEOC Charge (see Defs' 56.1        atll   a2-86; Dkt. No. 3I-2) and is not

   actionable. Similarly, the alleged failure to hire plaintiff for the FCLS Legal Support           and

   Training Unit, the failure to promote plaintiff to Agency Attorney Level IV in 2013, and the

   failure to promote plaintiff to Assistant Supervising Attorney predate his second EEOC Charge

   (see   Defs' 56.1 atlifl 150-l 54 andl69-181; Dkt. No. 31-2), and cannot be deemed retaliatory in

   response    to the second EEOC Charge. See Vecchione, 2014 U.S. LEXIS 69708, at *I2.

   Causation cannot be inferred either because the Charges and Specifications that resulted to the

   60-day suspension were served almost two years after plaintiff s first EEOC Charge. See Defs'

   56.1 at1fr42-86 and Exhibit Q; see also Brown, 622Fed. Appx. at20.

                         d.   Defendantst Non-Retaliatory Reasons

                     Employee insubordination and other conduct that is disruptive to the workplace

   are legitimate, non-retaliatory reasons for adverse employment action(s), more specifically, the

   OEEO investigation and plaintiffs Charges and Specifications resulting in a 60-day suspension

   (see   Defs' 56.1 at l|fl 13-86). Serrano v. N.Y. State Dep't of Envtl. Conservation, No. 12-CV-

   1592 (MAD/CFH), 2017 U.S. Dist. LEXIS 47527, at *21-23 (N.D.N.Y. Mar. 30, 2017), aff d,

   714 F. App'x 90 (2d Cir. 2018); Bendeck v. NYU Hosps. Ctr.,77 A.D.3d 552, 554,909

   N.Y.S.2d 439, 441-42       (l't Dep't 2010) (granted   summary judgment in favor of employer which




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   "provided substantial and significant reasons to terminate plaintifPs employnent...including

   poor work performance") (CHRL). "[A]n employer does not violate Title                  VII when it   takes

   adverse employment action against an employee to preserve a workplace environment that is

   governed by rules, subject to a chain of command, free of commotion, and conducive to the work

   of the enterprise." Id. at 2l; Martinez v. Connecticut State Lib., 817 F. Supp. 2d 28, 47 (D.

   Conn.   20Il)   (assertion that "decision     to discipline [plaintiff] was the result [ofl a formal
   investigation which concluded that [plaintiffl had engaged in conduct that violated" a workplace

   policy satisfied the defendant's burden to proffer    a   legitimate, non-retaliatory reason).

                       e.   Lack of Evidence of Pretext

   '               Even   if plaintiff   could show temporal proximity between his protected activities

   and the alleged adverse employment actions, temporal proximity without more, is insufficient to

   rebut Defendants' legitimate explanation for the adverse employment actions. Figueroa v.

   Johnson, 648 Fed. Appx. 130, 134 (2d Cir. 2016); EEOC v. Bloomberg L.P., 967 F. Supp. 2d

   816, 900 (S.D.N.Y. 2013) ("dismissing CHRL claim and holding the temporal proximity alone

   did not rebut defendant's        non-discriminatory reason supported          by oclear evidence that
   [plaintiff s] performance continued to decline"').

                   With regard to the Charges and Specifications, and plaintiffs attempts to be

   promoted (see Defs' 56.1 at fl"l] 42-86 and 141-181), plaintiff cannot merely allege                 in   a


   conclusory fashion that the adverse employment actions occurred because                 of his   protected

   activities where the Defendants' reasons were contemporaneously documented             @ Defs' 56.1 at
   1fl42-86 and 141-181). Malacarne v. CityUniv. of New York,289F. App'x 446,448 (2dCir.

   2008) ("In light of the multiple, contemporaneously documented, and non-discriminatory reasons




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I      for her   negative evaluation, plaintiffs mere allegation that her complaint about sex

       discrimination fmotivated her negative performance evaluation] is unavailing").

                      Only where Defendants' business decisions are so implausible as to call into

       question their genuineness should this Court conclude thata reasonable trier of fact could find

       that it is pretextual." Flemins v. MaxMara USA. Inc. , 37 |    F   .   App'x I 15, 1 l8 (2d Cir. 2010); see

       Dabney v. Christmas Tree Shops,958 F. Supp. 2d439,454 (S.D.N.Y.2013),                     afld   sub nom.,

       588 F. App'x 15 (2d Cir.2014); see also Moore v. Kinesbrook Jewish Med. Ctr., No. 1l-CV-

       3625,2013 U.S. Dist. LEXIS 107111,2013 WL 3968748, at *13 (E.D.N.Y. July 30, 2013)

       ("[T]he fact that an employee 'disagrees with an employer's evaluation of that employee's

       misconduct or deficient performance, or even has evidence that the decision was objectively

       incorrect, does not necessarily demonstrate, by itself, that the employer's proffered reasons are a

       pretext for termination"'); Breitstein v. Michael C. Fina Co.,2016 NY Slip Op 31858[U], *25-26

       (Sup. Ct., N.Y. Co. 2016) ("The mere fact that [plaintiff] may disagree with his employer's

       actions or think that his behavior was justified does not raise an inference of pretex| (CHRL),

       afPd, 156 A.D.3d 536 (1't Dep't 2017).

                      Lastly, plaintiff may not rebut Defendants' legitimate, non-retaliatory reasons by

       relying on conclusory arguments about ACS' o'culture." Hudson v. Merrill Lynch & Co.. Inc.,

       2014 NY Slip Op 31048(U),     fl   17 (Sup. Ct.   N.Y. Co.2014), aff d,     138 A.D.3d 511 31 N.Y.S.3d

       3 (1o Dep't 2016),Iv. den., 28 N.Y.3d 902 (2016) ("It is well-settled that any evidence of

       corporate culture from statements made by or conduct of management is generally found to have

       probative value toward establishing a prima facie case yet such evidence is insufficient to prove

       that the employer's performance-based explanations...were pretextual") (CHRL).




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                   For the same reasons that plaintiff is unable to establish causation, he is also

   unable to carry his burden that Defendants' non-retaliatory reasons were in fact, pretextual. See

   Point II (BX2)(c), supra.

              3.   No Evidence Of Individual Liability Under $ 1983

                   Defendants Joseph Cardieri ("Cardieri"), Ian Sangenito ("Sangenito"), Alan Sputz

   ("Sputz"), and Susan Starker ("Starker") had no personal involvement in the OEEO investigation

   into plaintiff. See Defs' 56.1 at flill 13-40. In addition, Defendants Cardieri, Sangenito, Sputz,

   and Starker had no personal involvement in the decision not to promote     plaintiff.   See   Defs' 56.1

   at J[fl 141-181. Lastly, Defendants Paul Savarese ("Savaress"), and Monn had no personal

   involvement in the Charges and Specifications that resulted in plaintifPs 60-day suspension. See

   Defs' 56.1 atffi42-86;   see also   Littlejohn,795F.3dat3l4.

                   Assuming the individual defendants had sufficient personal involvement in the

   alleged adverse employment actions, for the reasons set forth in Point   II (B), supra, they cannot

   be held liable under $ 1983 as individuals, and are entitled to summary judgment on that claim.

   Back, 365 F.3d at 127 (affirming summary judgment dismissing           $   1983 against defendant

   superintendent who recommended to the Board of Ed. that plaintiff be denied tenure; although he

   investigated plaintiff s claims of gender discrimination and found them meritless, there was "no

   indication that...his investigation [was] undertaken with a jaundiced eye); Lanee v. Town of

   Monroe, 213 F. Supp. 2d     4ll,    424 (S.D.N.Y. 2002) ("Although the Board members may have

   been influenced by their personal and poliiical connections to [defendant], this is insufficient to

   establish a constitutional violation where there is no basis from which to infer that the Board's

   conduct was directed against fplaintiffl on the basis of gender").




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                                           CONCLUSION

                   For the foregoing reasons, Defendants respectfully request that the Court grant

   Defendants' Motion for Summary Judgment and dismiss the Complaint in its entirety, with

   prejudice, and award Defendants such other and further relief as the Court deems just and proper.

   Dated:          New York, New York
                   December 10,2018

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